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                     UNITED STATES COURT OF APPEALS                      FILED
                            FOR THE NINTH CIRCUIT                         MAR 7 2022
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
 ERNST AND HAAS MANAGEMENT                      No.   20-56212
 COMPANY, INC.,
                                                D.C. No.
                 Plaintiff-Appellant,           2:20-cv-04062-AB-PVC
                                                Central District of California,
  v.                                            Los Angeles

 HISCOX, INC., Erroneously Sued As Hiscox ORDER
 Insurance Company Inc.,

                 Defendant-Appellee,

 and

 DOES, 1 through 10,

                 Defendant.

 Before: R. NELSON and VANDYKE, Circuit Judges, and SCHREIER,* District
 Judge.

       The full court has been advised of Defendant-Appellee’s petition for panel

 rehearing and rehearing en banc, and no judge has requested a vote on whether to

 rehear the matter en banc. Fed. R. App. P. 35. The panel judges have voted to deny

 the petition for panel rehearing. Judge Schreier recommended denying the petition




       *
               The Honorable Karen E. Schreier, United States District Judge for the
 District of South Dakota, sitting by designation.
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 for rehearing en banc. Judges Nelson and VanDyke voted to deny the petition for

 rehearing en banc.

       Accordingly, Defendant-Appellee’s petition for panel rehearing and rehearing

 en banc, filed February 9, 2022 (ECF No. 36) is hereby DENIED and Plaintiff-

 Appellant’s motion for reconsideration of non-dispositive clerk order, filed March

 1, 2022 (ECF No. 43) is hereby DENIED as moot.




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